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                       UNITED STATES COURT OF APPEALS
                           FOR THE NINTH CIRCUIT
    Form 32. Response to Notice of Case Being Considered for Oral Argument
      Instructions for this form: hltp:llwu-w. ca 9, uscourts. g,oyU'ormsQ'orm32insttuClio,ns,pd[

9th Cir. Case Number(s) L---I2_3-_3_5 1_5_3_ _ _ _ _ _ _ _ _ _ _ _ _ _________.J

Case Name lusA v. State of Idaho                                                                             I
Hearing Location (city) ~ls_a_n_F_r_an_c_is_c_o_ _ _ _ _ _ _ _ _ _ _ _ _ _ ___,I

Your Name loaniel W. Bower                                                                                   I
List the sitting dates for the two sitting months you were asked to review:
 April 1-5, 8-12, 2024
-May 13-17, 2024

!
Do you have an unresolvable conflict on any of the above dates? (!)Yes                               Q No
If yes, list the specific day(s) and the specific reason(s) you are unavailable:
April 11, 2024




Do you have any other cases pending in this court for which you received a notice
of consideration for oral argument during the three sitting months listed above?
@ Yes QNo

If yes, list the number, name, and hearing city of each of the other case(s):
United States v. Idaho, No. 23-35440, 23-35450, January 23, 2024, Pasadena, CA.




Signature Vs/Daniel W. Bower                                            Date 17 December 2023
(use "s/[typed name] " to sign electronically-filed documents)
                    Feedback or questions about this form? Email us at {orms@cq9 UKPUC(,t ~QY

Form32                                                                                          New 12/01/2018
